
687 S.E.2d 485 (2009)
STATE
v.
Clifford Ray MILLER.
No. 84A02-2.
Supreme Court of North Carolina.
November 19, 2009.
Michael R. Ramos, Shallotte, Gretchen M. Engel, Durham, for Clifford R. Miller.
Edwin W. Welch, Special Deputy Attorney General, for State of NC.
The following order has been entered on the motion filed on the 19th of November 2009 by Defendant-Appellant for Extension of Time to File Petition for Writ of Certiorari:
"Motion Allowed. Defendant shall have up to and including the 30th day of March, 2010 to file and serve his/her Petition for Writ of Certiorari with this court. By order of the Court in conference this the 19th of November 2009."
